CaSe 2:05-cr-20189-.]Pl\/| Document 14 Filed 07/07/05 Page 1 0t_2 Page|D 16

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P|aintiff

VS.
CR. NO. 05-20189-D

W|LLiE ALFRED |V|ASON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel for the
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursdag(l August 25, 2005, at 9:00 a.m., in Courtroom 3l 9th Floor of
the Federa| Bul|ding, Memphis, TN.

The period from June 30, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

IT ls so 0RDERED this {Q*"‘day of July, 2005.

NICE B. ONALD
UN|TED STATES D|STR|CT JUDGE `

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UNITED sTATE DRISTIC COUR - W"'RNTE D's'TRCT OFTENNESSEE

   

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Honorable Berniee Donald
US DISTRICT COURT

